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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 STANDING ROCK SIOUX TRIBE, YANKTON
 SIOUX TRIBE; ROBERT FLYING HAWK;
 OGLALA SIOUX TRIBE,                Case No. 1:16-cv-1534-JEB
                                    (and Consolidated Case Nos. 16-cv-
              Plaintiffs,           1796 and 17-cv-267)
    and
 CHEYENNE RIVER SIOUX TRIBE; SARA
 JUMPING EAGLE ET AL.,
                  Plaintiff-Intervenors,
            v.
 U.S. ARMY CORPS OF ENGINEERS,
                  Defendant-Cross Defendant,
    and
 DAKOTA ACCESS, LLC,
                  Defendant-Intervenor-Cross
                  Claimant.

                              ______________________________

                   DAKOTA ACCESS, LLC’S OPPOSITION TO
        PLAINTIFFS’ MOTION TO CONDUCT HEARING TELEPHONICALLY
                       ______________________________

       Dakota Access, LLC does not object to an order that permits representatives of Plaintiffs,

including their counsel, to attend the March 18, 2020 oral argument on Motions for Summary

Judgment by telephone. But the Court should not adopt a special rule for this case in which parties

are prevented from being represented in person at an oral argument on substantive motions that

the Court scheduled more than a month ago.

       Three of the parties, including Plaintiff Oglala Sioux Tribe, have counsel of record in

Washington, D.C. who thus need not travel to attend in person. Consistent with that fact, this

Court has held other hearings and conferences in this case with some counsel participating by
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telephone and others in person. E.g., Sept. 16, 2016 Status Conference; Jan. 18, 2017 TRO/PI

Motion Hearing; Feb. 28, 2017 PI Motion Hearing; Dec. 12, 2018 Status Conference Resolving

Claims.

       No party has ever suggested it was somehow “prejudicial” for the Court to proceed in that

manner, nor is there reason to think the Court has given any party that had counsel in the courtroom

an advantage over any party that participated by telephone. See D.E. 490 at 2. In fact, as recently

as March 9, 2020, counsel for Standing Rock Sioux Tribe requested—and received—the consent

of all parties to file, if it became necessary, an unopposed motion that would have allowed him to

participate in the March 18 argument by telephone should he be barred from traveling to the

hearing from Seattle. In seeking that consent, Standing Rock’s counsel expressed no concerns that

his client might be disadvantaged if a government-imposed travel restriction prevented him from

attending the hearing in person.

       Plaintiffs nonetheless now assert that a different approach is needed because allowing some

parties to appear in person “is potentially prejudicial in a complex hearing like this one.” D.E. 490

at 2. But the fact that Plaintiffs have sought to expand the scope of the remand beyond its three

discrete topics does not make the issues themselves more complex. There is no reason to think

that the Court would be any less able or willing to assess and comprehend the merits of a party’s

arguments if counsel is heard over the telephone rather than in person. And the Court has already

directed the parties to focus on just one of those three remand topics.

       Finally, the Court should keep in mind that the hearing was originally scheduled for

February 20, 2020, before the current travel issues related to the coronavirus arose. At the request

of Standing Rock’s counsel, though, all parties agreed to accommodate his schedule by providing

the Court with other dates to hold the argument. Dakota Access expressed its preference at that

time to keep the hearing on the date scheduled, rather than pushing it back a month. D.E. 487.

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Dakota Access and the other parties should be extended the opportunity to attend the hearing in

person, just as would have been the case were it not for Standing Rock’s initiation of a four-week

adjournment.


 Dated: March 13, 2020                              Respectfully submitted,


                                                     /s/ William S. Scherman
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                              CERTIFICATE OF SERVICE

      I hereby certify that on this 13th day of March, 2020, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.



                                                    /s/ William S. Scherman
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